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                                                                                        United States District Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
                         IN THE UNITED STATES DISTRICT COURT                                March 28, 2023
                         FOR THE SOUTHERN DISTRICT OF TEXAS                               Nathan Ochsner, Clerk
                                  VICTORIA DIVISION


 STATE OF TEXAS, et al.,

           Plaintiffs,

      v.                                               Civil Action No. 6:23-cv-00013

 BUREAU OF ALCOHOL, TOBACCO,
 FIREARMS AND EXPLOSIVES, et al.,

           Defendants.


                                              ORDER

       Pending before the Court is Defendants’ Unopposed Motion for Leave to Exceed the Word

Limit. After reviewing the Motion, the record, and the applicable law, the Court is of the opinion that

it should be GRANTED. Accordingly, Defendants are granted leave to file a Response to Plaintiffs’

Motion for Preliminary Injunction up to 19,100 words.

        It is SO ORDERED.

                    28th of ________________,
        Signed this ____       March          2023.


                                                  _________________________________
                                                           DREW B. TIPTON
                                                  UNITED STATES DISTRICT JUDGE
